                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION

                                        NO. 3:03cr181
 UNITED STATES OF AMERICA,                  )
                                            )
                  Plaintiff,                )       ORDER AND NOTICE TO PRO SE
                                            )      PETITIONER OF UNITED STATES’
        vs.                                 )     RESPONSE TO DOCUMENT FILED BY
                                            )        ANGLIS DELORES THOMPSON
 ROBERT ANTHONY THOMPSON,                   )
                                            )
                  Defendant.                )

       THIS MATTER is before the Court on a NOTICE OF MOTION ON RELEASE of ANGLIS

DELORES THOMPSON filed August 16, 2006 (Doc. No. 229), purporting to assert an interest in

property at 302-2 Compact School Road, Kings Mountain, North Carolina 28086 (Deed Book 1266,

Page 649, Cleveland County Public Registry), and seeking the release of said property from a

Preliminary Order of Forfeiture (Doc. No. 158).

       The United States timely responded to said NOTICE on September 5, 2006, by filing

GOVERNMENT RESPONSE TO DOCUMENT FILED BY ANGLIS DELORES THOMPSON

(Doc. No. 231).

       The Court has since been awaiting a Reply or some other pleading from ANGLIS DELORES

THOMPSON responding to the United States.

       In accordance with Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975), the Court advises

ANGLIS DELORES THOMPSON, who is proceeding pro se, of the heavy burden that she carries

in failing to respond to the GOVERNMENT RESPONSE TO DOCUMENT FILE BY ANGLIS

DELORES THOMPSON (Doc. No. 231), which response is akin to a summary judgment motion

against MS. THOMPSON by the United States.



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       Under Federal Rule of Civil Procedure 56(e), which provides guidance in this case:

       When a motion for summary judgment is made and supported as provided in this
       rule, an adverse party may not rest upon the mere allegations or denials of the adverse
       party's pleading, but the adverse party's response, by affidavits or as otherwise
       provided in this rule, must set forth specific facts showing that there is a genuine
       issue for trial. If the adverse party does not so respond, summary judgment, if
       appropriate, shall be entered against the adverse party.

       This language means that if ANGLIS DELORES THOMPSON has any evidence to offer to

show that there is a genuine issue for trial or evidentiary hearing, she must now present it to this

Court in a form which would otherwise be admissible at trial or evidentiary hearing, i.e., in the form

of affidavits or unsworn declarations. An affidavit is a written statement under oath; that is, a

statement prepared in writing and sworn before a notary public. An unsworn statement, made and

signed under the penalty of perjury, may also be submitted.

       Affidavits or statements must be presented by ANGLIS DELORES THOMPSON to this

Court no later than thirty (30) days from the date of this Order, or Wednesday, December 13, 2006.

Her failure to respond likely will result in the United States being granted the relief it seeks by way

of dismissal of her NOTICE, that is, the dismissal of her claim with prejudice.



       NOW THEREFORE, IT IS ORDERED:



       1. The pro se petitioner, ANGLIS DELORES THOMPSON, shall have until Wednesday,

December 13, 2006, to file her reply or response, including any evidence, to GOVERNMENT

RESPONSE TO DOCUMENT FILED BY ANGLIS DELORES THOMPSON.




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       2. The Clerk is directed to send copies of this Order and Notice to pro se petitioner, that is,

Anglis Delores Thompson, P.O. Box 754, Kings Mountain, North Carolina 28086 (this address being

the return address on the envelope which Ms. Thompson used to forward her Notice to the Court).

       SO ORDERED.

                                                       Signed: November 13, 2006




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